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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA


NELSON T. LOPEZ (#615051)
                                                                 CIVIL ACTION
VERSUS
                                                                 NO. 18-509-JWD-RLB
JAMES LEBLANC, ET AL.
                                         OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report (Doc. 61) dated September 21, 2020, to which no

objection was filed;

       IT IS ORDERED that this action is dismissed, with prejudice, for failure to prosecute

and failure to comply with the Court’s orders regarding the pre-trial conference.

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on October 15, 2020.

                                                S
                                      JUDGE JOHN W. deGRAVELLES
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
